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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

In re:                                        )
                                              )
Katherine E. Gast Crook                       )       Bankruptcy Case 25 B 03638
                                              )
            Debtor,                           )       Judge Slade
_______________________________               )
                                              )
Steven Junkovic, Paul Junkovic,               )
Mrika Junkovic                                )
                                              )
                 Plaintiffs,                  )
                                              )
                 v.                           )       Adv. No.
                                              )
Katherine E. Gast Crook                       )
                                              )
                 Defendant                    )



        COMPLAINT TO DETERMINE DISCHARGEABILITY OF A DEBT
     OWED TO STEVEN JUNKOVIC, PAUL JUNKOVIC, AND MRIKA JUNKOVIC

         NOW COMES the Plaintiffs, Steven Jukovic, Paul Junkovic, and Mrika Junkovic

(“Plaintiffs”), by and through their attorney, Charles Bonini of the Law Office of Charles R.

Bonini, LLC, and its Complaint against Katherine E. Gast Crook (“Defendant”), brought

pursuant to 11 U.S.C. §523(a)(6) of the United States Bankruptcy Code, states as follows:

                                   JURISDICTION AND VENUE

    1. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1334 and Internal

         Operating Procedure 15(d) of the United States District Court for the Northern District of

         Illinois.
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 2. This is a core proceeding brought pursuant to 28 U.S.C. §157(b)(2)(I) and brought as an

    adversary proceeding under Federal Rules of Bankruptcy Procedure 7001.

 3. This is a claim for relief brought pursuant to 11 U.S.C. §523(a)(6).

 4. The Northern District of Illinois is the proper venue for this complaint pursuant to 28

    U.S.C. §1409(a).

                                   BACKGROUND FACTS

 5. Plaintiffs entered into a contract with Defendant on May 2, 2019 for the construction of a

    mausoleum. See Exhibit A.

 6. Plaintiffs paid $300,000.00 to Defendant for the construction of the mausoleum.

 7. Defendant promised to complete construction of the mausoleum by November 2019.

 8. Plaintiffs intended the mausoleum to inter the remains of Filip Junkovic (“Filip”) for

    perpetuity.

 9. The mausoleum would also serve as a final resting place for additional family members

    who passed away after its construction.

 10. Defendant accepted the payment of Plaintiffs but failed to construct the mausoleum.

 11. Plaintiff failed to undertake any steps towards the construction of the mausoleum, except

    that a subcontractor was hired to provide initial blueprints.

 12. Plaintiff engaged in a pattern of practice of avoiding Plaintiffs, making excuses for

    unexplained delays in the construction, and failed to take any meaningful steps towards

    the fulfillment of her obligations under the contract.

 13. As of the filing of the petition for bankruptcy relief, the mausoleum construction has not

    begun.

 14. Plaintiff has not refunded any money to Plaintiffs.
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 15. Plaintiffs experienced significant and lasting emotion trauma due directly to the actions

    and conduct of Defendant, in addition to the financial loss.

 16. Defendant, through her actions of making and breaking promises, deceiving Plaintiffs,

    and ultimately failing to perform under the contract, directly caused Plaintiffs to remain

    in a state of emotion limbo because they were unable to put Filip to his final resting

    place. Plaintiffs were prevented from mourning and remembering Filip in the manner in

    which they desired.

 17. On June 21, 2023 Plaintiffs filed suit against Defendant, naming as defendants Katherine

    E. Gast Cook and Gast Monuments, Inc. in the Circuit Court of Cook County, IL.

 18. The Circuit Court Judge entered judgment in favor of Plaintiffs and against Defendant on

    October 25, 2023 in the amount of $300,000.00 plus costs and included a finding of

    malice.” See Exhibit B.

 19. In response to a post-judgment motion under 735 ILCS 5/2-1401 to vacate the judgement,

    and after an evidentiary hearing, the Circuit Court judge found the Defendant, “is

    completely lacking in credibility.” Exhibit C.

 20. Defendant together with her related business entity, Gast Monuments, are subject to

    multiple lawsuits and over 100 complaints filed with the Illinois Attorney General’s

    office alleging similar conduct during the same timeframe.

 21. Defendant’s outrageous conduct became so unabashed that while she was actively

    causing injury to Plaintiffs, she bragged on social media of her high-spending, world-

    traveling lifestyle.

                                   CLAIMS FOR RELIEF

                                           COUNT I
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           Exceptions From Discharge Of Debt Pursuant To 11 U.S.C. §523(a)(6)

 22. Plaintiffs restate all allegations set forth in Paragraphs 1-21 as Paragraph 22 of Count I.

 23. 11 U.S.C. §523(a)(6) states in pertinent part as follows: A discharge under section 727,

    1141, 1228(a), or 1328(b) of this title does not discharge an individual debtor from any

    debt […] (6) for willful and malicious injury by the debtor to another entity or to the

    property of another entity.

 24. The exception to discharge for certain debts for willful and malicious injury by the debtor

    to another entity or to the property of another entity, under section 523(a)(6) has three

    elements: (1) the debtor caused an injury; (2) the debtor’s actions were willful; and (3)

    the debtor’s actions were malicious. Braverman v. Braverman, 463 B.R. 115, 119 (Bankr.

    N.D. Ill. 2011)(quoting Glucona Am., Inc. v. Arvdisson, 272 B.R. 346, 356 (Bankr. N.D.

    Ill. 2001)).

 25. The 7th circuit defined a willful and malicious injury that warrants “precluding discharge

    in bankruptcy of the debt created by the injury, is one that the injurer inflicted knowing

    he had no legal justification and either desiring to inflict the injury or knowing it was

    highly likely to result from his act.” Jendusa-Nicolai, et al. v. Larsent, 677 F.3d 320, 324

    (7th Cir. 2012).

 26. There can be no doubt Plaintiffs suffered an injury by Defendant’s conduct. Plaintiffs

    experienced severe emotional trauma and distress because of Defendant’s complete

    unwillingness to follow through on her legal promise to construct a family mausoleum.

    Plaintiffs sought a final resting place to mourn and remember Filip, but have been held in

    a state of emotional torture and limbo. Their grief over his passing was compounded and

    perpetuated by Defendant’s conduct.
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 27. An injury is commonly “understood to mean a ‘violation of another's legal right, for

    which the law provides a remedy.’” First Weber Group, Inc. v. Horsfall, 738 F.3d 767,

    774 (7th Cir. 2013) citing In re Lymberopoulos, 453 B.R. 340, 343

    (Bankr.N.D.Ill.2011) (citation omitted). Plaintiffs’ rights both under contract and to be

    free from suffering emotion distress were violated by Defendant. Legal recourse for both

    those rights clearly exists.

 28. Defendant’s conduct was willful: she entered into a contract, accepted payment, made

    promises of construction, corresponded with Defendants to make excuses for the non-

    construction, then chose to stop performing with the full knowledge of the consequences

    on the Plaintiffs. Defendant knew or should have known that her egregious conduct

    towards individuals dealing with such sensitive matters was certain to cause severe

    emotional harm. She knew that her conduct would prevent Plaintiffs from the healing that

    final burial can provide.

 29. Malicious conduct is that which was undertaken "in conscious disregard of [his] duties or

    without just cause or excuse; it does not require ill-will or specific intent to do

    harm." Matter of Thirtyacre, 36 F.3d 697, 700 (7th Cir.1994).

 30. There is no possible excuse or justification for the conduct of Defendant. She appears to

    have simply used Plaintiffs’ payments to fund her lavish lifestyle without any intention of

    actually performing under the contract. Defendant exploited the sincere desire for healing

    and remembrance expressed by Plaintiffs as a means of funding an otherwise

    unobtainable lifestyle.

 31. The practice of entering into contracts to assist grieving families lay their loved ones to

    rest, accepting payment, and then showing utter disregard for not only the legal promises
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       but the emotional well-being of her clients evidences a pattern of practice of willful and

       malicious injurious conduct.

   32. This conduct rises beyond a mere breach of contract action. Defendant engaged in a

       knowing and intentional scheme to make money from the grieving Plaintiffs while

       showing total disregard for their emotional state and the traumatic harm she would cause.



                                          CONCLUSION

        "The principal purpose of the Bankruptcy Code is to grant a fresh start to the honest but

unfortunate debtor." Jendusa-Nicolai, 677 F.3d at 324 (citing Marrama v. Citizens Bank of

Massachusetts, 549 U.S. 365, 367). The conduct of the Defendant clearly demonstrates a wanton,

selfish desire to treat her grieving clients as funding sources for a lavish lifestyle. She preyed

upon not only these plaintiffs but dozens of others who wanted nothing more than to lay their

loved ones to rest in a place to provide healing, remembrance, and respite from grief. Plaintiffs

expected Defendant to assist them through a sensitive and raw emotional time, but instead

Defendant’s outrageous and malicious conduct poured salt in their wounds. Certainly this

conduct shows that she is not the honest but unfortunate debtor deserving of a fresh start from

her debts.

WHEREFORE, Steven Jukovic, Paul Junkovic, and Mrika Junkovic respectfully request that this

Court find the debt owed to Steven Jukovic, Paul Junkovic, and Mrika Junkovic non-

dischargeable pursuant to 11 U.S.C. §523(a)(6), and for further relief as this Court deems just.



                                               Respectfully submitted,

                                               Steven Jukovic, Paul Junkovic, and Mrika Junkovic
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                                  By:   /s/ Charles R. Bonini

                                        Attorney for Plaintiffs



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                                                                                                       EXHIBIT A
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